     CASE 0:20-cv-01577-SRN-TNL Doc. 59 Filed 03/11/21 Page 1 of 2




                   UNITED STATES DISTRICT COURT
                      DISTRICT OF MINNESOTA


Kaarin Nelson Schaffer, as Trustee for
the Next of Kin of George P. Floyd, Jr.,
Deceased,

                       Plaintiff,             Civil No. 20-1577 (SRN/TNL)

      v.

 Derek Chauvin in his individual                       ORDER
 capacity as a Minneapolis police
 officer; Tou Thao, in his individual
 capacity as a Minneapolis police
 officer; Thomas Lane, in his individual
 capacity as a Minneapolis police
 officer; J. Alexander Kueng, in his
 individual capacity as a Minneapolis
 police officer; and the City of
 Minneapolis,

                        Defendants.


Jeffrey S. Storms, Newmark Storms Dworak LLC, 100 South Fifth Street, Suite
2100, Minneapolis, MN 55402; Benjamin Crump, Ben Crump Law, PLLC, 122 S,
Calhoun Street, Tallahassee, FL 32301; Antonio M. Romanucci, Bhavani K.
Raveendran, and Nicolette Ward, Romanucci & Blandin, LLC, 321 North Clark
St., Suite 900, Chicago, Illinois 60654; Devon M. Jacob, Jacob Litigation, Inc.,
P.O. Box 837, Mechanicsburg, PA 17055-0837; L. Christopher Stewart and Justin
Miller, Stewart Trial Attorneys, 55 Ivan Allen Jr. Blvd NW, Suite 700, Atlanta,
GA 30308; Michelle Rognlien Gilboe, Lewis Brisbois Bisgaard & Smith, LLP, 90
7th Street, Suite 2800, Minneapolis, MN 55402; Ronald Scott Masterson, Lewis
Brisbois Bisgaard & Smith, LLP, 1180 Peachtree Street, Suite 2900, Atlanta, GA
30309; and Laura Mullins and William G. Pintas, Pintas & Mullins Law Firm, 368
W. Huron Street, Suite 100, Chicago, IL 60654, for Plaintiff Kaarin Nelson
Schaffer, as Trustee for the Next of Kin of George P. Floyd, Jr., Deceased.
     CASE 0:20-cv-01577-SRN-TNL Doc. 59 Filed 03/11/21 Page 2 of 2




Brian S. Carter and Ivan M. Ludmer, Minneapolis City Attorney’s Office, City
Hall, Room 210, 350 South Fifth Street, Minneapolis, MN 55415, for Defendant
City of Minneapolis.

Gregory M. Erickson and Erick G. Kaardal, Mohrman, Kaardal & Erickson, P.A.,
150 South Fifth Street, Suite 3100, Minneapolis, MN 55402, for Defendant Derick
Chauvin.

Marshall H. Tanick and Stephen M. Harris, Meyer Njus Tanick, P.A., 330 Second
Avenue South, Suite 350, Minneapolis, MN 55401, for Defendant Thomas Lane.

James P. Michels, Michels Law Firm PLLC, 18920 26th Avenue North,
Minneapolis MN 55447, for Defendant Tou Thao.

Gregory J. Johnson, G Johnson Law PLLC, 668 145th Street West, St. Paul, MN
55124, for Defendant J. Alexander Kueng.


       This matter is before the Court on a letter filed by Plaintiff [Doc. No. 58].

The letter requests, on behalf of all parties, that there be an extension of time to

respond to the Defendants’ motion to stay this proceeding, or in the alternative,

that the Court reset the hearing for a later available date.

       Based on the request, IT IS HEREBY ORDERED THAT:

       1. The deadline for a response to the pending Motion to Stay [Doc. No. 53]

           is extended to March 17, 2021; and

       2. The hearing on the motion will remain as scheduled, to be held via

           video conference on March 19, 2021 at 2:00 p.m. Central Daylight

           Time.



Dated: March 11, 2021                       s/Susan Richard Nelson
                                            SUSAN RICHARD NELSON
                                            United States District Judge


                                           2
